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                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW MEXICO


NEW MEXICO HEALTH
CONNECTIONS,

                       Plaintiff,

       v.
                                                           No. 1:18-cv-00773 JB/KBM
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES,
et al.,

                       Defendants.

                                    NOTICE OF WITHDRAWAL

       Pursuant to Local Rule 7.7, Plaintiff New Mexico Health Connections (“NMHC”) by and

through its undersigned counsel, hereby gives notice of its withdrawal of its pending Motion for

Summary Judgment (Dkt. Entries 8 & 9) without prejudice. NMHC has conferred with counsel

for Defendants and Defendants consent to this withdrawal.

       As explained in the Joint Motion to Stay Proceedings filed on October 5, 2018, the

Parties have agreed that the Court should stay this matter pending its resolution of Defendants’

Rule 59(e) motion in New Mexico Health Connections v. U.S. Dep’t of Health & Human

Services, No. 1:16-cv-878 JB/JHR (D.N.M.). Following the Court’s resolution of the Rule 59

motion in the earlier filed action, the Parties will meet and confer in order to establish a briefing

schedule in this action. The Parties will then file their dispositive motions (including, but not

limited to, the matters set forth in the Motion for Summary Judgment being hereby withdrawn

without prejudice) in accordance with this briefing schedule.
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Dated: October 9, 2018
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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 9, 2018, I caused the foregoing document to be served on
counsel for Plaintiff by filing with the court’s electronic case filing system.




                                                           /s/ Nancy Long
                                                           Nancy Long
